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The Honorable Paul A. Engelmayer
United States District Judge
United States District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Centre Street
New York, NY 10007



Dear Judge Engelmayer

I met Ari as undergraduates at Brandeis University. He is always the first one to try to make someone
smile with some humor or solve a problem that someone (or the world) is having big or small. He is also
always honest, even to a fault sometimes. It’s just who he is.

My wife (who also knows Ari from Brandeis University) and I were thrilled to host Ari one weekend a few
years back at our house in Maryland. We enjoyed catching up with him over meals and watching as he
entertained our kids to no end. Ari and I frequently text each other and chat on the phone and he has
always been honest with me, respectful, and kind.

I’ve always felt that Ari will one day stumble upon some kind of innovation or concept that he will build that
will truly make the world a better place on a large scale. In the meantime, he already has built many
successful initiatives and products. For example, he created an organization called JCorps that got quite
popular, getting young jewish people to volunteer for good causes. He even published some kind of
futuristic vision for how sustainable cities could look and operate, incorporating innovative design
concepts to alleviate traffic, conserve energy, and make life more fun and in harmony with nature. Ari has
also founded a number of exciting startups including Friend or Fraud, Gateguard, and Sublet Spy, each
finding unique and novel ways to solve both painful and persistent problems.

Through all of these tremendous contributions to society, he has always been true to his self, with his
combination of humor, ingenuity, brutal honesty, and deep desire to make the world a better place (I don’t
mean this as a cliche, this is literally who he is).

Please know that as his friend, I cannot imagine Ari intentionally doing anything outside the bounds of
law. Ari prides himself on using his smarts to to innovate and problem solve within the framework of
whatever industry he is in.

I truly hope he is able to continue bringing his passion for problem solving and making the world a better
place every day of his life. Lately, I have been seeing the incredible paintings, he has been posting to
social media, yet another contribution that he has to offer.

Sincerely,




Jeffrey Katz
